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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                 Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



                                 Michael Flynn’s Consent to
                               Government’s Motion to Dismiss

         On May 7, 2020, the Government filed its Motion to Dismiss the Criminal Information

Against the Defendant Michael T. Flynn. ECF No. 198. Mr. Flynn agrees that the dismissal of this

case meets the interests of justice and requests that this matter be dismissed immediately, with

prejudice.

         Dated: May 12, 2020                Respectfully submitted,

 /s/ Jesse R. Binnall                        /s/ Sidney Powell
 Jesse R. Binnall                            Sidney Powell
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2020 a true and genuine copy of the foregoing was served

via electronic mail by the Court’s CM/ECF system to all counsel of record, including:

       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
       Washington, D.C. 20530

                                                     Respectfully submitted,

                                                     /s/ Jesse R. Binnall
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